              Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 1 of 9




 1                                                          THE HONORABLE JAMES L. ROBART

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     UNITED STATES OF AMERICA,                       )
 9                                                   )   Case No. 2:12-cv-01282-JLR
                                   Plaintiff,        )
10                                                   )   CITY OF SEATTLE’S NOTICE RE
                    v.                               )   TENTATIVE AGREEMENT REACHED
11                                                   )   WITH SEATTLE POLICE OFFICERS
     CITY OF SEATTLE,                                )   GUILD
12                                                   )
                                   Defendant.        )
13                                                   )
                                                     )
14                                                   )
                                                     )
15
            The City of Seattle has reached a Tentative Agreement (TA) with the Seattle Police
16
     Officers Guild (SPOG) through collective bargaining as required by state law, Rev. Code Wash.
17
     41.56. As directed by Paragraph 9 of the Court’s September 7, 2023 Order, the City hereby
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     provides “an analysis of the Tentative Agreement’s effect . . . on SPD’s accountability and review
19
     systems and the implementation of the City’s Accountability Ordinance.”
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              Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 2 of 9




 1           The TA contains several accountability-related changes and a 23% wage increase for

 2   officers who have been working without a contract since it expired on December 31, 2020. The

 3   TA is an “interim” contract that covers the years 2021-2023. By securing an interim agreement

 4   now, the City’s goal is to immediately boost officer recruiting and retention. That goal is important

 5   because, among other reasons, this Court has emphasized that sufficient staffing, retention, and

 6   recruitment are necessary to sustain SPD’s achievements under the Consent Decree.

 7           In addition, the parties are continuing to negotiate a forward-looking contract. The City is

 8   prioritizing additional accountability gains in these ongoing negotiations.

 9      I.       Bargaining Process, Current Status, and Next Steps

10           By local law, the City’s position in bargaining is established jointly by the City Council and

11   Executive. Before negotiations began, the City Council and the Community Police Commission (CPC)

12   jointly held a public hearing prior to bargaining to inform the negotiations. See SMC 4.04.120(F). The

13   Office of Police Accountability (OPA) and the Office of Inspector General for Public Safety (OIG)

     also presented at the hearing. These public hearings are an important part of the process whereby the
14
     City identifies the interests of the public. SMC 4.04.120(G).
15
             In addition, the City’s Labor Relations Policy Committee has an important role in the collective
16
     bargaining process. The committee, which consists of five members appointed by the Mayor and
17
     five Councilmembers, is responsible for establishing the City’s bargaining parameters and strategy
18
     during the course of bargaining. In addition, the Labor Policy Relations Committee must concur with
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     any changes to officer “working conditions,” which would include proposals for changes to grievance
20
     procedures and the accountability system. See SMC 4.04.120(D).
21

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                Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 3 of 9




 1          Notably, in 2021 the Labor Policy Relations Committee instituted a new process that—for the

 2   first time—involved a representative of the CPC in the parameter-setting discussions. In addition,

 3   representatives of the OPA and the OIG serve as advisors during parameter setting.

 4          In late March, after extensive negotiations, including consultations with OPA and OIG,

 5   and with the concurrence of the Labor Policy Relations Committee, the City reached a TA with

 6   SPOG’s bargaining team covering 2021-2023. The agreement is “interim”1 in nature, in that it

 7   covers three years that have already passed since the prior agreement expired. It is also designated

 8   as “interim” because the parties have agreed to keep negotiating on a forward-looking agreement

 9   based on their original proposals.

10          The TA has been voted on and approved by the membership of SPOG. Accordingly, it is

11   being transmitted to the full City Council for a vote. Under Washington state labor law, the Council

12   either must approve or reject the TA. Approval of the TA occurs if a simple majority of the Council

13   votes to ratify it. The Council has no authority to change the version of the TA bargained at the

14   table, ratified by the union members, and submitted to Council for a vote.

15           If Council votes in favor of the TA, it then will be presented to the Mayor for signing.

16   Once the TA is signed by the Mayor, it will become a final, binding contract.

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21          1
              There has been confusion about what it means to have an “interim” agreement. Contrary
     to some reports in the media, the disciplinary appeal procedures in the TA will apply to arbitrations
22   going forward—even if the alleged misconduct occurred in the past. Indeed, that is what the parties
     have done for previous contracts.
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                   Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 4 of 9




 1      II.         With the Assistance of a Mediator, Negotiations Continue on a Forward-Looking
                    Contract.
 2
               Negotiations are continuing without pause. Since December 2023, a mediator appointed
 3
     by the Public Employment Relations Commission has been assisting the parties in bargaining, and
 4
     the parties are continuing to work with the same mediator.
 5
               As the parties negotiate over officer wages, hours, and working conditions, the City will
 6
     continue to push to advance accountability and enhance public safety for all Seattle residents. If
 7
     continued bargaining in good faith does not resolve these issues in a timely way, the State law
 8
     governing collective bargaining, RCW 41.56, requires that the parties submit the unresolved issues
 9
     to a third-party arbitrator who will hear proposals from both sides and issue a binding decision on
10
     the remaining contract terms.
11
        III.        The TA Increases Wages and Makes Changes to Accountability-Related
12                  Provisions.

13             1. Wage Increase

14             The Monitor and the Court have expressed concern that, without sufficient staffing,

15   retention, and recruitment, SPD’s important achievements under the Consent Decree may not

16   continue to progress.2 As required by the Consent Decree, SPD has made extensive reforms to

17   training, supervision, and the reporting and investigation of force—maintaining these reforms

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21            Monitor’s 2022 Comprehensive Assessment (Dkt. 709) at 5-6; 5/15/2019 Hearing
               2

     Transcript at 18:8-9; 2/04/2021 Hearing Transcript at 24:10-19, 26:1-10; 5/30/2023 Hearing
22   Transcript at 38:22-23, 40:22-24.

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                Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 5 of 9




 1   requires a committed staff. The TA provides a wage increase that cumulatively amounts to 23

 2   percent spread over three years and provides competitive compensation in the local marketplace.3

 3          2. Civilianization of OPA

 4          The Monitor and the Court have recommended adding more civilian investigators to the

 5   Office of Police Accountability in order to improve public trust.4

 6          Under the TA, the ratio of civilian to sworn investigators will increase. The TA civilianizes

 7   two investigator positions that are currently held by sworn officers. This change continues a trend

 8   of civilianization at OPA; in 2020 the Monitor applauded the addition of two civilian investigators

 9   (replacing sworn officers) and the addition of three civilian investigative supervisors (replacing

10   sworn captain and lieutenants). Dkt. 604-1 at 5-6. Accordingly, once the changes in the TA have

11   been implemented, there will be four civilian investigators and three civilian supervisors, bringing

12   the total number of civilians managing and conducting investigations to seven.

13          The Accountability Ordinance does not provide for any particular composition of civilian

14   and sworn staff at OPA. See Seattle City Ordinance No. 125315 (“Accountability Ordinance”),

15   sect. 3.29.140.C (providing flexibility for best configuration of staff).

16

17

18

19          3
             It is comprised of 1.3 percent in 2021; 6.4 percent in 2022; and 15.3 percent in 2023. The
     2023 increase is comprised of 5 percent to address inflation (i.e., increased CPI) and 10.3 percent
20   market adjustment.

21          4
              Monitor’s 2020 Assessment (Dkt. 604-1) at 6 (“The Monitoring Team has long
     recommended that half of OPA investigators be civilians.”); 5/30/2023 Hearing Transcript at
22   13:12-13, 38:12-14.

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                Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 6 of 9




 1          3. Deference to Chief of Police’s Disciplinary Judgments

 2          The Court has expressed concern that the previous agreement allowed an arbitrator to

 3   substitute her own judgment for that of the Chief of Police when it comes to discipline.5

 4          The TA for the first time specifies the amount of deference that an arbitrator in a

 5   disciplinary grievance must afford to the Chief’s judgment regarding the disciplinary penalty. The

 6   previous agreement is silent on this point; that is, arbitrators are not required to apply any

 7   deference, but some do. This TA, for the first time, limits an arbitrator’s right to change or modify

 8   a disciplinary penalty by requiring the arbitrator to give deference to the Chief’s judgment about

 9   discipline so long as the disciplinary penalty is reasonable and consistent with just cause.

10          In addition, the TA formally adopts the changes to grievance arbitration that were already

11   enacted by the state legislature. See RCW 41.58.070. Under the law, a state commission appoints

12   a roster of trained, experienced arbitrators to hear disciplinary appeals for police officers. The

13   procedures have already been implemented by SPOG and the City in disciplinary arbitrations; this

14   contract change brings the TA into alignment with current practice and state law and provides

15   certainty going forward.

16          The Accountability Ordinance does not allow police officers to appeal discipline to an

17   arbitrator, so that remains inconsistent. Accountability Ordinance, Sect. 3.29.420.7. However, the

18   right to appeal discipline to an arbitrator (“grievance arbitration”) is a right provided for in nearly

19   all contracts for public employees throughout the State of Washington.

20

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            5
22              May 15, 2019 Hearing Transcript at 17-18.

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                Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 7 of 9




 1          4. Simplifying and Tolling the Deadline for Disciplinary Investigations

 2          The Monitor assessed the timeliness of OPA’s disciplinary investigations in 2020 and

 3   found no situations in which a missed deadline prevented discipline from being imposed.6

 4   However, the Court and an independent expert engaged by the Monitor also determined that the

 5   complexity and rigidity of the deadlines for OPA’s disciplinary investigations present a risk that

 6   misconduct could go unaddressed.7

 7          The TA makes three changes to the timelines for disciplinary investigations. First, it

 8   removes the requirement that OPA notify an employee within five days of receiving a complaint

 9   about that employee, leaving only the existing 30-day notice requirement. Eliminating the five-

10   day notice requirement provides more consistency with the Accountability Ordinance, which

11   includes no such requirement. See SMC 3.29.130. Second, the TA automatically tolls the 180-day

12   timeline for investigations of complaints that are being criminally investigated in Seattle, as well

13   as in any other city, state, county, tribal, or federal jurisdiction—fully implementing a provision

14   of the Accountability Ordinance. See Accountability Ordinance, Sect. 3.29.130.G. Under the

15   previous contract, the 180-day clock continued to run during a criminal investigation if an officer

16   was accused of committing a crime in Seattle. Third, the TA allows up to a 60-day extension of

17   the 180-day investigation period on allegations of excessive force for serious (“Type 3”) force.8

18
            6
             The Monitor’s Assessment was submitted to the Court in 2020 and filed at docket number
19   604-1. The conclusions about timeliness appear at page 2.
            7
20           Seattle Accountability System Sustainability Assessment (Dkt. 782) at 31; 5/15/2019
     Hearing Transcript) at 17-18.
21
            The 60-day extension is available if SPD’s Force Review Board refers the allegation to
            8

22   OPA within seven days of the Board’s meeting regarding the incident in question.

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                 Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 8 of 9




 1          5. Civilianization of Public Safety Services Generally
            The Monitor has recognized the City’s efforts to innovate and explore new ways to provide
 2
     public safety services to the community.9
 3
            The City and SPOG also negotiated a Memorandum of Understanding that is expressly
 4
     incorporated into the TA and was also approved by the police union on April 15, 2024, that allows
 5
     the City to assign civilians to perform bodies of work that currently are mostly performed by SPOG
 6
     members. It lists the new bodies of work which the City now has flexibility to assign to civilians
 7
     rather than sworn officers. The areas include low-risk wellness checks, traffic camera enforcement,
 8
     analytical support for investigations, and many other areas of work.10 This increased flexibility to
 9
     deploy civilian resources to perform bodies of work previously performed by sworn officers
10
     advances the provision in the Accountability Ordinance that seeks more flexibility to hire and
11
     deploy civilians to perform work that does not require law enforcement sworn personnel. SMC
12
     3.29.430(B).
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            9
                Monitor’s Status Memorandum (Dkt. 695) at 11-13.
18
            10
               A representative sample of items from the MOU list of work areas includes: respond to
19   emergency food and shelter requests; address landlord/tenant problems; take reports from / stay
     with missing juveniles and runaways (after screening); stay with / transport missing adult persons
20   (after screening); perform mail runs (using locked mail containers); handle nuisance noise
     complaints (after screening); serve as hospital guard; transport mobile fingerprint readers; pick up
21   adult witnesses and transport them; respond to lost / found property calls, unless the caller believes
     the found item is stolen, related to a crime, or a weapon or narcotics; respond to requests for
22   transportation unrelated to a crime.

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               Case 2:12-cv-01282-JLR Document 795 Filed 04/29/24 Page 9 of 9




 1      IV.      Conclusion.

 2            The City respectfully submits the foregoing memorandum in response to the Court’s Order.

 3   DATED this 29th day of April, 2024.

 4
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